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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11    RICHARD EARL MAY, JR.,                     )
      Individually,                              )     No. 3:16-cv-00252-LB
12                                               )
                                                 )     Hon. Laurel Beeler
13                  Plaintiff,                   )
      vs.                                        )
14                                                     PLAINTIFF’S RESPONSE IN
                                                 )     OPPOSITION TO DEFENDANTS’
      SAN MATEO COUNTY, a public entity;         )
15                                               )     MOTION IN LIMINE # 4 RE:
      SAN MATEO COUNTY SHERIFF’S
                                                 )     EXCLUDING SAN MATEO COUNTY
16    DEPUTY CHRIS LAUGHLIN; DEPUTY
                                                 )     SHERIFF’S OFFICE POLICIES
      ERIC MICHEL; and DOES 1 through 10,
                                                 )
17    individually, Jointly and Severally,       )      Trial Date: June 5, 2017
                                                 )      Time: 8:30 a.m.
18                  Defendants.                  )      Place: Courtroom C, 15th Floor
                                                 )      Final Pretrial Conference: May 18, 2017
19                                               )      1:00 p.m.
                                                 )
20                                               )
                                                 )
21                                               )
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 1   INTRODUCTION

 2          Defendants’ fourth motion in limine seeks to prevent Mr. May from introducing any

 3   evidence “relating to San Mateo County Sheriff’s Office (SMCSO) policies and procedures.”

 4   (Defs.’ MIL #4, 1:11–12 (emphasis added)). According to Defendants, such “policies, procedures,

 5   and general orders are not relevant to the ‘objective-reasonableness test’ applicable to Fourth

 6   Amendment excessive force claims because law enforcement policies represent subjective
     considerations.” (Defs. MIL #4, 2:2–4). At the same time, Defendants concede that such policies
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     are relevant, arguing: “SMCSO policies may be introduced by Defendants to support affirmative
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     defenses[,]”—including, presumably, qualified immunity. (Defs.’ MIL #4, 5:4–6 (emphasis
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     added)). Defendants contend that the jury does not need to learn about the SMCSO policies and
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     procedures because they have nothing to do with Mr. May’s Fourth Amendment excessive force
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     claim, or any other claim, because “both the constitutional standard and the standard of care are
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     independent from local law enforcement policies and procedures.” (Defs.’ MIL #4:8–11). In fact,
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     pursuant to longstanding Ninth Circuit precedent, including Smith v. City of Hemet (en banc),
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     testimony or evidence regarding defendant Laughlin’s violations of applicable law enforcement
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     standards—including, but not limited to, the SMCSO’s policies and procedures—are relevant to
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     both the jury’s determination of whether Defendant Laughlin used excessive force in violation of
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     the Fourth Amendment (which forms the basis of Plaintiff’s state-law claims) and to his
18   entitlement to qualified immunity.
19   ARGUMENT
20   A.  Under longstanding Ninth Circuit precedent, including Smith v. City of Hemet, 394
         F.3d 689 (9th Cir. 2005) (en banc), a rational jury in a § 1983 excessive force action
21       may properly consider evidence of a law enforcement agency’s own policies—as well
         as policies from other entities.
22
            Defendants claim that SMCSO policies are “not relevant to Plaintiff’s sole federal claim of
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     excessive force under the Fourth Amendment.” (Defs.’ MIL # 4, 1:17–18 (citing Whren v. United
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     States, 517 U.S. 806 (1996)). Defendants claim that Whren stands for the proposition that a police
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     department’s policies are not relevant to a jury’s consideration of the “totality of the
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     circumstances” under Graham’s objective-reasonableness test. To make this argument,
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 1   Defendants rely on an out-of-circuit case, Tanberg v. Sholtis, 401 F.3d 1151(10th Cir. 2005).

 2   There, a § 1983 excessive force plaintiff appealed the district court’s grant of defendants’ motion

 3   in limine to exclude evidence related to the Albuquerque Police Department’s Standard Operating

 4   Procedures. Tanberg, 401 F.3d at 1161. Reviewing the district court’s order generously, in a

 5   “deferential review,” the panel held upheld the district court’s exclusion of the evidence and

 6   declined “Plaintiffs’ invitation to use the Albuquerque Police Department’s standard operating
     procedures as evidence of constitutional standards.” Id. at 1161–64. The panel reached this
 7
     conclusion by reading Whren v. United States, 517 U.S. 806 (1996), a case from the Fourth
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     Amendment “exclusionary rule context,” as having “rejected the use of local police regulations as
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     a standard for evaluating constitutionality of police conduct, on the ground that such a ‘bases of
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     invalidation would not apply in jurisdictions that had a different practice.’” Id. at 1163 (quoting
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     Whren v. United States, 517 U.S. 806, 915 (1996)). The Tanberg panel then held: “[t]hat logic
12
     would seem to apply equally to damage suits under § 1983.” Id.
13
            First, this is an unwarranted extension of Whren, which merely rejected evidence of police
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     department policies and procedures as a bright line test. The Whren petitioner was trying to
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     “make the individual officer’s subjective good faith the touchstone of reasonableness” by
16
     predicating a constitutional violation on “whether the officer’s conduct deviated materially from
17
     police practices, so that a reasonable officer in the same circumstances would not have made the
18   stop for the reasons given.” Whren, 517 U.S. at 813–14 (emphasis added). In contrast, an
19   excessive force claim is based on whether the officer’s use of force was objectively reasonable
20   under the “totality of circumstances,” which includes many factors as described in Ninth Circuit
21   Model Civil Jury Instruction 9.25.
22          At least one court in the Ninth Circuit has explicitly rejected this same extension of Whren
23   that Defendants advance here. See Bonner v. Park, No. C07-962RSM, 2008 U.S. Dist. LEXIS
24   114658, at *2–4 (W.D. Wash. Oct. 29, 2008) (denying, in a § 1983 excessive force case,

25   defendants’ motion in limine to exclude police department policies; defendants “overstate the rule

26   of law” in Whren, which “never explicitly found that such practices should be completely

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 1   excluded from evidence, and never “suggested that the fact-finder should be precluded from

 2   hearing evidence that an officer may have violated the internal policy of his employer altogether.”)

 3          Second—and more importantly—Tanberg is not the law in the Ninth Circuit. While the

 4   Sixth and Seventh Circuits in Smith v. Freland, 954 F.2d 343 (6th Cir. 1992); Thompson v. City of

 5   Chicago, 472 F.3d 444 (7th Cir. 2006), may follow Tanberg, the Ninth Circuit does not.

 6   Defendants ignore binding precedent, Smith v. City of Hemet, 394 F.3d 689, 703 (9th Cir. 2005)
     (en banc), which held that a fact finder may properly consider a defendant-officer’s police law
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     enforcement agency’s policies, among other evidence, to determine, under Graham, the “totality
 8
     of the circumstances” of the reasonableness of the force used.
 9
            In Smith, as here, plaintiff argued that there were alternative techniques available for
10
     subduing him that presented a lesser threat of death or serious injury.” Smith, 394 F.3d at 703.
11
     The availability of alternatives is, of course, part of the Graham analysis. Id. (citing Chew v.
12
     Gates, 27 F.3d 1432, 1441 n.5 (9th Cir. 1994)). In support, plaintiff provided, as Mr. May has
13
     here, expert testimony “[d]iscussing whether the officers’ conduct comported with law
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     enforcement standards,” in which “the expert relied upon California Peace Officers Standards and
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     Training, which are applicable to all state police officers and are a part of Department policy[;]”
16
     the expert concluded that the defendant officers should have used a lesser degree of force. Smith,
17
     394 F.3d at 703. (emphasis added). The en banc Smith court held: “[a] rational jury could rely
18   upon such evidence in assessing whether the officers’ use of force was unreasonable.” Id. (citing
19   Larez v. City of L.A., 946 F.2d 630, 635 (9th Cir. 1991) (as amended) (finding that testimony of
20   “an expert on proper police procedures and policies” was relevant and admissible); Davis v.
21   Mason Cnty., 927 F.2d 1473, 1484-85 (9th Cir. 1991) (as amended) (testimony of plaintiffs’ police
22   practices expert that officers violated law enforcement standards properly received)).
23          Precisely because of the relevance and importance that police department policies,
24   procedures, and training manuals have to the jury’s performance of the Graham “totality of the

25   circumstances” analysis—district courts in the Ninth Circuit deny defense motions to exclude

26   evidence of police department policies and training materials in § 1983 excessive force cases. See,

27   e.g., Cotton v. City of Eureka, No. C 08-04386 SBA, 2010 U.S. Dist. LEXIS 136270, at *64 (N.D.

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 1   Cal. Dec. 14, 2010) (citing Smith, 394 F.3d 689, 703 (9th Cir. 2005) (denying, in § 1983 action,

 2   defendants’ motion in limine to exclude evidence related to defendants’ failure to comply with

 3   their employer’s written policies because, “[w]hile the failure to comply with internal procedures

 4   may not, standing alone establish that Defendants [violated decedent’s constitutional rights], such

 5   evidence is pertinent, in combination with the other evidence in this case, to the overall

 6   reasonableness and/or deliberateness of the conduct at issue.”); Bonner v. Park, No. C07-
     962RSM, 2008 U.S. Dist. LEXIS 114658, at *3–4 (W.D. Wash. Oct. 29, 2008) (emphasis added)
 7
     (denying defendants’ motion in limine to exclude defendant police department’s policies, and
 8
     holding that “any allegation” that the defendant officer violated his police department’s policy on
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     the amount of force to be used is “a consideration that the fact-finder may consider in evaluating
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     an individual’s excessive force claim.”); Engman v. City of Ontario, No. EDCV 10-284 CAS
11
     (PLAx), 2011 U.S. Dist. LEXIS 66128, at *12–13 (C.D. Cal. June 20, 2011) (citing Fed. R. Evid.
12
     703) (denying defendants’ motion in limine “to exclude introduction of evidence of any other
13
     policies, practices, guidelines, and literature of any other police agency or organization regarding
14
     the use of force[.]” because “plaintiff’s experts may rely on other policies and standards (i.e.,
15
     California’s Peace Officer Standards and Training) in forming their opinions.”); Rhead v. Mundy,
16
     No. 01cv0629-LAB (WMc), 2005 U.S. Dist. LEXIS 47633, at *61 (S.D. Cal. Oct. 20, 2005)
17
     (denying defendant’s motion in limine to exclude evidence of police department directives and
18   policies that inform the excessive force claims). This Court should, too.
19   B.      Because Plaintiff’s California-law-based claims flow from his Fourth Amendment
             claim, SMCSO policies and procedures are necessarily relevant to those as well.
20

21           If Plaintiff proves his Fourth Amendment excessive force claim, he proves his Bane Act
22   claim. See Chaudhry v. City of L.A., 751 F.3d 1096, 1105-06 (9th Cir. 2014) (citing Cameron v.
23   Craig, 713 F.3d 1012, 1022 (9th Cir. 2013) (“[T]he elements of the excessive force claim under §

24   52.1 are the same as under § 1983.”). Plaintiff’s false arrest and battery claims are proven by the

25   same wrongful acts that support his § 1983 claim. Under “established common law tort

26   principles” false arrest, false imprisonment, wrongful termination “or the like,” “may be

27   established by demonstrating a violation of a constitutional provision.” Katzberg v. Regents of the

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 1   Univ. of Calif, 29 Cal. 4th 300, 303 n.1 (2002); see also Blankenhorn v. City of Orange, 485 F.3d

 2   463, 486–88 (9th Cir. 2007); Robinson v. Solano Cnty., 278 F.3d 1007, 1016–17 (9th Cir. 2012)

 3   (en banc) (constitutional violations support state tort claims for false imprisonment, assault and

 4   batter, and there is no immunity from such claims); Edson v. City of Anaheim, 63 Cal. App. 4th

 5   1269, 1274–75 (1998) (holding that the state tort of battery by a police officer essentially tracks a

 6   claim for use of excessive force under the Fourth Amendment and is measured by the same
     reasonableness standard).
 7
            Lastly, whether Defendant Laughlin violated SMCSO’s policies, including its General
 8
     Orders, is relevant to Plaintiff’s negligence claim. A negligence claim may be based on a use of
 9
     excessive force. Hernandez v. City of Pomona, 46 Cal. 4th 501, 513–14 (2009). Under California
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     law, a peace officer may be held liable for negligence because “‘a public employee is liable for an
11
     injury caused by his act or omission to the same extent as a private person,’ except as otherwise
12
     specifically provided by statute.” Lugtu v. California Highway Patrol, 26 Cal. 4th 703, 715 (2001)
13
     (quoting Cal. Gov’t Code § 820(a)). Officers have “a duty ‘to perform their official duties in a
14
     reasonable manner,’” and “a law enforcement officer has a duty to exercise reasonable care for the
15
     safety of those persons whom the officers stops . . .” Id. at 717–18 (citing Whitton v. State of
16
     California, 98 Cal. App. 3d 235, 241 (1979)). Lugtu approved the determination of the standard of
17
     care based on the department’s training and policy materials, as well as the plaintiff’s expert’s
18   testimony. Id. at 720–24; see also Dillenbeck v. City of L.A., 69 Cal. 2d 472, 480 (1968) (holding,
19   in a negligence case, that a trial court should have admitted a police department’s rules as
20   “evidence of the component requirements of due care[;]” “[the] safety rules of an employer are . . .
21   admissible as evidence that due care requires the course of conduct prescribed in the rule.”); Grudt
22   v. City of L.A., 2 Cal. 3d 575, 588 (1970) (citing Dillenbeck, 69 Cal. 2d at 588) (a police
23   department’s manual was relevant to plaintiff’s negligence claim, because it “prescribed rules
24   regarding occasions for the limited use of firearms by police officers.”).

25          Whether Defendant Laughlin failed to follow his department’s policies helps the jury

26   decide whether he was negligent. See Mitchell v. City of Tukwila, No. C12-238RSL, 2013 U.S.

27   Dist. LEXIS 177816, at *5 (W.D. Wash. Dec. 17, 2013) (denying defendant’s motion in limine to

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 1   exclude evidence of defendant police department’s policies, because“[a]lthough Plaintiff’s Monell

 2   claim against the City has been dismissed, Tukwila Police Department policies regarding the use

 3   of force and use of a taser are relevant and probative of whether Officer Gurr’s conduct was

 4   negligent.”).

 5           Defendants do not cite any authority to the contrary. Newman v. San Joaquin Delta

 6   Community College District, 814 F. Supp. 2d 967, 980 (E.D. Cal. 2011) does not say, nor does it
     support, the argument that police policies are “equally impermissible” to establishing the standard
 7
     of care; all Newman says is that under California law, police officers have a duty not to use
 8
     excessive force, and to determine whether an officer has breached this duty, a jury applies the
 9
     Graham analysis—which necessarily incorporates expert testimony, and evidence of policies and
10
     training materials to establish the “standard of care.” Defendants claim that Hayes v. County of
11
     San Diego, 57 Cal. 4th 622 (2013) and Estate of Cartwright v. City of Concord, 618 F. Supp. 722,
12
     729 (N.D. Cal. 1985) stand for the proposition that SMCSO policies are “not considered among
13
     facts in negligence analysis.” (Defs.’ MIL#4, 4:5-6). They do not. Hayes held that, under
14
     California negligence law, police officer liability may arise from tactical conduct and decisions
15
     employed by law enforcement preceding the use of deadly force.” Hayes, 57 Cal. 4th, at 626. The
16
     California Supreme Court held that “such liability can arise if the tactical conduct and decisions
17
     leading up to the use of deadly force show, as part of the totality of the circumstances, that the use
18   of deadly force was unreasonable.” Hayes, 57 Cal. 4th, at 626. The cited portion of Estate of
19   Cartwright simply held, on the facts before it, that the actions of jail medical personnel “were not
20   negligent, and certainly were not deliberate indifference” to the plaintiff. Estate of Cartwright,
21   618 F. Supp. at 729.
22   C.      Evidence that Defendant Laughlin violated Sheriff’s Office policy when he sicced
             Riggs to bite and hold Mr. May—and that he had done so in the past—is also
23           properly admissible to support denial of qualified immunity to defendant Laughlin
             and to allow the jury to determine punitive damages.
24
             Evidence of Defendant San Mateo County Sheriff’s Office policies and training materials
25
     “are relevant not only to whether the force employed in this case was objectively unreasonable . . .
26
     but also to whether reasonable officers would have been on notice that the force employed was
27

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 1   objectively unreasonable.” Drummond v. City of Anaheim, 343 F.3d 1052, 1062 (9th Cir. 2003);

 2   Headwaters Forest Def. v. Cnty. of Humboldt (“Headwaters II”), 276 F.3d 1125, 1131 (9th Cir.

 3   2002) (no qualified immunity for officers who violated regional and statewide police protocol).

 4          Here, Defendant Laughlin was on notice that deploying Riggs could constitute deadly

 5   force, and that he should only use deadly force when facing a “serious or violent” felon presenting

 6   a proportionate immediate threat of death or serious bodily harm. The specific policy section
     Defendants want to exclude—Section 5-01 of the Canine Unit Manual—tracks the requirements
 7
     for the use of deadly force as articulated in Tennessee v. Garner: force “to be used only if ‘[1] it is
 8
     necessary to prevent the escape [of a suspected felon] and [2] the officer has probable cause to
 9
     believe that the suspect poses a significant threat of death or serious physical injury to the officer
10
     or others.’” Smith, 343 F.3d at 1057 (quoting Brewer v. City of Napa, 210 F.3d 1093, 1097-98
11
     (9th Cir 2001) (quoting Garner, 471 U.S. at 3 (internal quotation marks and emphasis omitted);
12
     see also Monroe v. City of Phoenix, 248 F.3d 851, 859 (9th Cir. 2001) (noting the twin
13
     requirements of escape and serious physical harm.)))” Section 5-01 of the SMCSO Canine
14
     Services Unit Manual states the Garner rule almost verbatim, requiring essentially the same two
15
     elements: (1) the handler “reasonably believes that the suspect has committed, or threatened to
16
     commit, a serious or violent felony and” any of the following conditions exists:
17          1. There is a reasonable belief that the individual poses an immediate threat of death or
18          serious bodily harm to the public, another officer or to the handler.
            2. The individual is physically resisting or threatening to resist arrest, and such resistance
19          would likely result in death or serious bodily injury to the public, another officer, or to the
            handler, and the use of the canine reasonably appears necessary to overcome such
20          resistance.
            3. The individual is believed concealed in an area where entry by any means reasonably
21          available, other than a canine, would pose a threat to the safety of the public, another
22          officer, or to the handler.
     (Ex. I, Canine Services Unit Manual § 5-01, pp. 1–2). Even Defendant County’s 30(b)(6) witness
23
     agreed that § 5-01 sets forth a “similar” standard to that of deadly force, in which the officer must
24
     articulate an immediate threat of death or serious bodily injury. (Ex. J, Duri Dep., 27:22–28:1).
25
     This, and other SMCSO policies and procedures are relevant to assessing Defendant Laughlin’s
26
     entitlement (or not) to qualified immunity. While Garner “did not establish a magical on/off
27

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 1   switch that triggers rigid preconditions whenever an officer’s actions constitute ‘deadly force’”

 2   and instead was “simply an application of the Fourth Amendment’s ‘reasonableness’ test,” Scott v.

 3   Harris, 550 U.S. 372, 382–83 (2007), what matters is whether Defendant Laughlin’s conduct was

 4   reasonable. A jury could easily find, based on his failure to follow § 5-01, that his actions were

 5   not, and that a reasonable officer would have known better.

 6                                             CONCLUSION
            Because testimony regarding police practices and procedures and the proper use of force is
 7
     both helpful to the jury’s determination of whether Defendant Laughlin’s use of force was
 8
     reasonable under the Fourth Amendment and relevant to whether he will enjoy qualified
 9
     immunity, this Court should deny this motion in its entirety.
10

11   Dated: April 27, 2017                                HADDAD & SHERWIN LLP
12
                                                          /s/ T. Kennedy Helm
13
                                                          T. KENNEDY HELM
14                                                        Attorneys for Plaintiff
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